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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
GAINESVILLE DIVISION

WasteCare Corporation,
Plaintiff,
No. 2:18-cv-120-RWS

Vv.

Harmony Enterprises, Inc.,

Nee ee ee ele le ae SS

Defendant.
MOTION TO WITHDRAW AS COUNSEL OF RECORD

Comes Now, the undersigned attorney of record for WasteCare Corporation
in this matter, and respectfully requests leave to withdraw pursuant to Rule 4.3 of
the Local Rules for the United States District Court for the Northern District of
Georgia. Irreconcilable differences have arisen between WasteCare Corporation
and counsel resulting in a breakdown of the attorney-client relationship and
necessitating withdrawal from this case. Counsel have found it difficult, if not
impossible, to fulfill their obligations as lawyers to the client and to continue
prosecuting the client’s claims.

The undersigned has given client due written notice of the intention to
withdraw prior to submitting this filing to the Court. (Exhibit A) The notice to the
client contained all required information pursuant to Rule 83.1(E)(2) of the Local

Rules for the United States District Court for the Northern District of Georgia.
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Fourteen days have passed since notice was provided to the client. The
undersigned has also informed the client that it will be the client’s responsibility to
file in arbitration as ordered by the Eleventh Circuit.

In addition to the undersigned, attorneys Lance Gould and Leslie Descia of
Beasley, Allen, Crow, Methvin, Portis, and Miles, P.C. (“Beasley Allen”) have
represented the client in appellate proceedings, which are now complete, and have
also provided notice to the client of Beasley Allen’s intent to withdraw from
further representation of the client. Attorney Archie Grubb formally withdrew
from representing the client in the United States Court of Appeals for the Eleventh
Circuit and also seeks to withdraw from representing the client in this court. The
client has been fully informed of Mr. Grubb’s withdrawal and his intent to
withdraw in this Court as well.

The undersigned counsel respectfully requests that all above-referenced

counsel be allowed to withdraw as counsel for WasteCare Corporation.

/s/ JAMES T. SASSER

James T. Sasser (Georgia Bar No. 525510)
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 14th day of July, 2021, the foregoing
MOTION TO WITHDRAW AS COUNSEL OF RECORD was filed with the
Court and served on the attorneys of record via the Court’s CM/ECF system on the
following:

Michael J. Sullivan

Vonnetta L. Benjamin

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Telephone: (507) 288-9111

kds@dunlaplaw.com

I HEREBY CERTIFY that on this 14" day of July, 2021, the foregoing
MOTION TO WITHDRAW AS COUNSEL OF RECORD was filed with the
Court and served on the client via electronic mail and Federal Express mail at the
following:

WasteCare Corporation
Attn: Buddy Kennedy
buddy@buddykennedy.com
3824 Red Bird Road
Gainesville, Georgia 30506

/s/ JAMES T. SASSER
James T. Sasser (Georgia Bar No. 525510)
